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 4   Telephone: (559) 497-4000
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 7
 8                              IN THE UNITED STATES DISTRICT COURT
 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                         )    CASE NO. 1:04-CR-5244 OWW
                                                       )
12             Plaintiff,                              )    STIPULATION TO CONTINUE
                                                       )    SENTENCING HEARING AND ORDER
13   v.                                                )
                                                       )
14   STEPHEN EARL PROUT                                )
                                                       )
15             Defendants.                             )
                                                       )
16                                                     )
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18
19          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
20   counsel, Stanley A. Boone, Assistant United States Attorney for Plaintiff, and Eric Fogderude,
21   Attorney for Defendant STEPHEN EARL PROUT, that the Sentencing hearing presently set for
22   January 26, 2009, at 9:00 a.m. may be continued to March 2, 2009, at 9:00 a.m.
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25   ////
26   ////
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 1          Further it is agreed and stipulated that the Government’s response to Defendant’s formal
 2   objections will be due on February 9, 2009, and Defendant’s reply will be due February 23, 2009.
 3
 4   DATED: January 22, 2009                            LAWRENCE G. BROWN
                                                        Acting United States Attorney
 5
 6
 7                                               By     /s/ Stanley A. Boone
                                                        STANLEY A. BOONE
 8                                                      Assistant U.S. Attorney
 9
10   DATE: January 22, 2009                      By     /s/ Eric Fogderude
                                                        ERIC FOGDERUDE
11                                                      Attorney for Stephen Prout
12
13
                                                   ORDER
14
            IT IS HEREBY ORDERED that the sentencing hearing be continued from January 26, 2009, at
15
     9:00 a.m. to March 2, 2009, at 9:00 a.m. IT IS FURTHER ORDERED that the Government’s
16
     responses to Defendant’s formal objections is due February 2, 2009, and Defendant’s reply is due
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     February 23, 2009.
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19
     IT IS SO ORDERED.
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     Dated: January 22, 2009                         /s/ Oliver W. Wanger
21   emm0d6                                     UNITED STATES DISTRICT JUDGE
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